        Case:22-10162-SDB Doc#:32 Filed:06/26/22 Entered:06/27/22 00:24:34                                                                Page:1 of 4
                                                              United States Bankruptcy Court
                                                               Southern District of Georgia
In re:                                                                                                                 Case No. 22-10162-SDB
Karrieon S. Marshall                                                                                                   Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113J-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 24, 2022                                               Form ID: 318                                                              Total Noticed: 19
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 26, 2022:
Recip ID                 Recipient Name and Address
db                     + Karrieon S. Marshall, 2310 Travis Road, Augusta, GA 30906-8944
cr                     + 1st Franklin Financial, P O Box 188, Newnan, GA 30264-0188
7677088                  1st Franklin Financial, 2825 Washington Road, Suite M2, Augusta GA 30909-2196
7677094                + Dick's Auto Sales, 3125 Mike Padgett Highway, Augusta GA 30906-3743
7677096                + First Franklin Financial, PO Box 188, Newnan GA 30264-0188
7677098                  Nationwide Recovery Center, PO Box 8005, Cleveland TN 37320-8005
7677102                  Wright One Paint and Body, 1848 Gordon Highway, Augusta GA 30904

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QJEMITCHELLIII
                                                                                        Jun 24 2022 22:28:00      Joseph E. Mitchell, III, Joseph E. Mitchell III,
                                                                                                                  P.C., P O Box 2504, Augusta, GA 30903-2504
cr                        Email/Text: ktramble@lendmarkfinancial.com
                                                                                        Jun 24 2022 18:24:00      Lendmark Financial, 2118 Usher Street,
                                                                                                                  Covington, GA 30014
7677089                + Email/Text: EBNProcessing@afni.com
                                                                                        Jun 24 2022 18:24:00      AFNI, PO Box 3427, Bloomington IL 61702-3427
7677090                ^ MEBN
                                                                                        Jun 24 2022 18:22:46      ARS Account Resolution, 1643 NW 136th
                                                                                                                  Avenue, Ste. 10, Fort Lauderdale FL 33323-2857
7677091                + EDI: PHINGENESIS
                                                                                        Jun 24 2022 22:28:00      CB Indigo/GF, PO Box 4499, Beaverton OR
                                                                                                                  97076-4499
7677093                + Email/Text: ebnnotifications@creditacceptance.com
                                                                                        Jun 24 2022 18:24:00      Credit Acceptance Corporation, 25505 West
                                                                                                                  Twelve Mile Rd, Suite 3000, Southfield MI
                                                                                                                  48034-8331
7677095                + Email/Text: bknotice@ercbpo.com
                                                                                        Jun 24 2022 18:24:00      Enhanced Recovery Co. LLC, 8014 Bayberry Rd,
                                                                                                                  Jacksonville FL 32256-7412
7677097                   Email/Text: ktramble@lendmarkfinancial.com
                                                                                        Jun 24 2022 18:24:00      Lendmark Financial, 2118 Usher Street NW,
                                                                                                                  Covington GA 30014
7677092                   Email/Text: smbk@heightsfinance.com
                                                                                        Jun 24 2022 18:24:00      Covington Credit, 852 Broad Street, Augusta GA
                                                                                                                  30901
7677100                   Email/Text: smbk@heightsfinance.com
                                                                                        Jun 24 2022 18:24:00      Southern Finance, Southern Management Corp,
                                                                                                                  PO Box 1947, Greenville SC 29602
7677099                ^ MEBN
                                                                                        Jun 24 2022 18:22:50      Self/Atlantic Capital, 945 E. Paces Ferry Road NE,
                                                                                                                  Atlanta GA 30326-1362
7677101                   Email/PDF: bk@worldacceptance.com
                                                                                        Jun 24 2022 18:36:34      World Finance, PO Box 6429, Greenville SC
                                                                                                                  29606-6429

TOTAL: 12
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District/off: 113J-1                                               User: admin                                                            Page 2 of 2
Date Rcvd: Jun 24, 2022                                            Form ID: 318                                                         Total Noticed: 19

                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
cr                *P++          SOUTHERN MANAGEMENT, PO BOX 1947, GREENVILLE SC 29602-1947, address filed with court:, Southern Finance,
                                Southern Management Corp., P O Box 1947, Greenville, SC 29602
cr                *P++          SOUTHERN MANAGEMENT, PO BOX 1947, GREENVILLE SC 29602-1947, address filed with court:, Covington Credit, 852
                                Broad St, Augusta, GA 30901
cr                *+            World Finance, PO Box 6429, Greenville, SC 29606-6429

TOTAL: 0 Undeliverable, 3 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 26, 2022                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 24, 2022 at the address(es) listed below:
Name                             Email Address
Joseph E. Mitchell, III
                                 mitchellje@bellsouth.net jemitchell@ecf.axosfs.com;notices.jempc@gmail.com;jemiiipc@gmail.com

Office of the U. S. Trustee
                                 Ustpregion21.sv.ecf@usdoj.gov

Zane P. Leiden
                                 on behalf of Debtor Karrieon S. Marshall courtinfo@leidenandleiden.com leidenzr93120@notify.bestcase.com


TOTAL: 3
      Case:22-10162-SDB Doc#:32 Filed:06/26/22 Entered:06/27/22 00:24:34                                                             Page:3 of 4
Information to identify the case:
Debtor 1
                       Karrieon S. Marshall                                           Social Security number or ITIN   xxx−xx−0362
                                                                                      EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                              Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                   EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Southern District of Georgia

Case number:          22−10162−SDB

Order of Discharge                                                                                                                   12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

                                    Karrieon S. Marshall




                                                                         Susan D. Barrett
                                                                         United States Bankruptcy Judge
                                                                         Federal Justice Center
                                                                         600 James Brown Blvd
                                                                         P.O. Box 1487
                                                                         Augusta, GA 30903
Dated: 6/24/22

Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case, and it does                   This order does not prevent debtors from paying any debt
not determine how much money, if any, the trustee will pay                   voluntarily or from paying reaffirmed debts according to the
creditors.                                                                   reaffirmation agreement. 11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any attempt to                         Most debts are discharged
collect a discharged debt from the debtors personally. For                   Most debts are covered by the discharge, but not all.
example, creditors cannot sue, garnish wages, assert a                       Generally, a discharge removes the debtors' personal
deficiency, or otherwise try to collect from the debtors                     liability for debts owed before the debtors' bankruptcy case
personally on discharged debts. Creditors cannot contact                     was filed.
the debtors by mail, phone, or otherwise in any attempt to
collect the debt personally. Creditors who violate this order                Also, if this case began under a different chapter of the
can be required to pay debtors damages and attorney's                        Bankruptcy Code and was later converted to chapter 7,
fees.                                                                        debts owed before the conversion are discharged.
However, a creditor with a lien may enforce a claim against                  In a case involving community property: Special rules
the debtors' property subject to that lien unless the lien was               protect certain community property owned by the debtor's
avoided or eliminated. For example, a creditor may have                      spouse, even if that spouse did not file a bankruptcy case.
the right to foreclose a home mortgage or repossess an
automobile.
                                                                                           For more information, see page 2 >




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Some debts are not discharged                                    Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:                   agreement are not discharged.

      ♦ debts that are domestic support                          In addition, this discharge does not stop
        obligations;                                             creditors from collecting from anyone else who is
                                                                 also liable on the debt, such as an insurance
                                                                 company or a person who cosigned or
      ♦ debts for most student loans;                            guaranteed a loan.


      ♦ debts for most taxes;
                                                                  This information is only a general summary
      ♦ debts that the bankruptcy court has                       of the bankruptcy discharge; some
        decided or will decide are not discharged                 exceptions exist. Because the law is
        in this bankruptcy case;                                  complicated, you should consult an
                                                                  attorney to determine the exact effect of the
                                                                  discharge in this case.
      ♦ debts for most fines, penalties,
        forfeitures, or criminal restitution
        obligations;

      ♦ some debts which the debtors did not
        properly list;


      ♦ debts for certain types of loans owed to
        pension, profit sharing, stock bonus, or
        retirement plans; and


      ♦ debts for death or personal injury caused
        by operating a vehicle while intoxicated.




Because no party in interest filed a request for an order of dismissal pursuant to 11 U.S.C. § 521(i)(2), the Debtor(s)
was not required to file any further document pursuant to §521(a)(1)(B) to avoid an automatic dismissal and this case
is not and was not subject to automatic dismissal under §521(i)(1). This does not prevent any party in interest from
requesting by motion that Debtor(s) supply further information described in § 521(a)(1)(B), and this does not prevent
the United States Trustee or Chapter 7 Trustee from requesting by any authorized means, including but not limited to
motion, that the Debtor supply further information.




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